      Case 4:16-cv-01587 Document 13 Filed on 08/15/16 in TXSD Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                             §
                                                   §
ATLAS ACQUISITIONS LLC, et al.,                    §           CIVIL ACTION NO. 4:16-cv-01587
                                                   §
                                                   §
JOEL TUCKER,                                       §
      Appellant.                                   §
                                                   §


            AGREEMENT FOR VOLUNTARY DISMISSAL OF APPEAL
      PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 8023
______________________________________________________________________________

         Pursuant to Rule 8023 of the Federal Rules of Bankruptcy Procedure, Joel Tucker (“Mr.

Tucker”) files this Agreement for Voluntary Dismissal of Appeal Pursuant to Federal Rule of

Bankruptcy Procedure 8023 (“Agreement”), hereby seeking a dismissal of his appeal (the

“Appeal”) [Dkt. No. 1] of the order dated May 19, 2016 (the “Forensic Examiner Order), entered

by the Honorable Marvin Isgur, United States Bankruptcy Judge for the Southern District of

Texas, Houston Division (the “Bankruptcy Court”) in In re Atlas Acquisitions LLC, et al.,

Miscellaneous Case No. 16-302.

         Mr. Tucker notified the parties involved in this action of his intent to seek a voluntary

dismissal of the above-captioned Appeal, and the parties—Porania LLC and Jeffrey Dunn; First

Source Data LLC and Jeffrey Brooks; JH Portfolio Debt Equities LLC; David Peake, the Chapter

13 Trustee; and Katrina Long—stated that they had no opposition. All costs and fees due have

been paid to the District Court for the Southern District of Texas. Accordingly, Mr. Tucker, with

the agreement of the other parties, hereby seeks an order granting (i) the voluntary dismissal of
      Case 4:16-cv-01587 Document 13 Filed on 08/15/16 in TXSD Page 2 of 2




the above-captioned Appeal with prejudice; and (ii) that each party shall bear its own costs,

expenses, and attorneys’ fees.



Dated: August 15, 2016


                                                     AKIN, GUMP, STRAUSS, HAUER & FELD,
                                                     LLP

                                                     By: /s/ Jim Wetwiska
                                                     Jim Wetwiska
                                                     State Bar No. 00785223/SDTX No. 18089
                                                     Roxanne Tizravesh
                                                     State Bar No. 24091141 /SDTX No.
                                                     2618739
                                                     1111 Louisiana, 44th Floor
                                                     Houston, Texas 77002
                                                     713.220.5899
                                                     jwetwiska@akingump.com
                                                     rtizravesh@akingump.com




                                                 2
